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                                   3

                                   4                                      UNITED STATES DISTRICT COURT

                                   5                                     NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     STATE OF CALIFORNIA, et al.,                         Case No.19-cv-00872-HSG
                                                           Plaintiffs,
                                   8
                                                                                              ORDER DIRECTING DEFENDANTS
                                                    v.                                        TO SUBMIT STATEMENT
                                   9

                                  10     DONALD J. TRUMP, et al.,
                                                           Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13     SIERRA CLUB, et al.,                                 Case No.19-cv-00892-HSG
                                                           Plaintiffs,
                                  14
                                                    v.
                                  15

                                  16     DONALD J. TRUMP, et al.,
                                                           Defendants.
                                  17

                                  18
                                  19          The Court hereby DIRECTS Defendants to submit a statement of no more than ten (10)

                                  20   pages by 5:00 p.m. PDT on May 15, 2019, providing the Court with updated information

                                  21   concerning the status of funds proposed to be used for border barrier construction under the

                                  22   various disputed statutes. Defendants' statement must cover the following topics:

                                  23          (1)        To the extent any information about the status and/or use of funds contained in

                                  24                     Defendants' oppositions to the pending motions for preliminary injunction has

                                  25                     changed, updated information;

                                  26          (2)        The total amount of funds that DOD has made, and intends to make available in the

                                  27                     next six months, to DHS in response to any DHS request this fiscal year for DOD

                                  28                     assistance under Section 284;
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                                   1         (3)    Of the total amount of funds identified in (2), how much is attributable to funds

                                   2                transferred (or to be transferred) into the counter-narcotics support line of the Drug

                                   3                Interdiction and Counter-Drug Activities, Defense, account under Section 8005;

                                   4         (4)    The amount of unobligated funds that were in the counter-narcotics support line of

                                   5                the Drug Interdiction and Counter-Drug Activities, Defense, account before any

                                   6                Section 8005 reprogramming;

                                   7         (5)    The outcome of the requested "detailed assessment of whether and how specific

                                   8                military construction projects could support the use of the armed forces in

                                   9                addressing the national emergency at the southern border," which Defendants have

                                  10                represented was due by May 10, 2019, see Case No. 19-cv-00872, Dkt. No. 89-10

                                  11                ("Rapuano Decl.") ¶ 14; and

                                  12         (6)    The outcome of the request for various personnel "to identify, by May 10, 2019,
Northern District of California
 United States District Court




                                  13                existing military construction projects of sufficient value to provide up to $3.6

                                  14                billion of funding for [the Acting Secretary of Defense's] consideration," id. ¶ 15.

                                  15         IT IS SO ORDERED.

                                  16   Dated: 05/13/2019

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                                                                                                  HAYWOOD S. GILLIAM, JR.
                                  19                                                              United States District Judge
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